 

Case 1:23-Gr-00122-APM Document6 Filed 04/49/23 Page 1 of1

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AQ 442 (Rev 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
v. ) Case: 1:23-cr-00122
Keidi C. Moore Assigned To : Mehta, Amit P.
y Assign. Date : 4/13/2023
5 ) Description: INDICTMENT (B}
Defendant

23, RERSHAL-DBG aui0d
REGCCIVED APR 15°23 ARREST WARRANT

Tao: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
fname of person to be arrested)  Keidi C. Moore
who is accused of an offense or violation based on the following document filed with the court:

@& Indictment © Superseding Indictment O Information O Superseding Information O Complaint
(1 Probation Violation Petition © Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

18U.S.€, § 1349 (Conspiracy);

18 U.S.C. § 1347 (Heaith Care Fraud);

18 U.S.C. § 1035(a}{2) (False Statements Relating to Health Care Matters}:
18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. § 2 (Aiding and Abetting and Causing an Act to Be Done)

Moxila A. Digitally signed by
a April 13, 2023 U pad hyaya Moxila A. Upadhyaya
éssuing officer's signature
City and state; | Washington, OC Moxila A. Upachyaya, Magistrate Judge

Printed name and title

 

Return

This warrant was received on’ (date) “T/ ( u 2s , and the person was arrested on (date) q ] | 4/23 _
at (city and state) |AJas Al npn, O C

oe 4/[4/23

 

    

rresting officer's signature

Thomas Agee, Special Agent

Printed name and title

 

 
